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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 04-21402- CIV (HUCK/SIMONTON)

Allstate Insurance Company, Allstate Indemnity
Company, Deerbrook Insurance Company, and
Northbrook Indemnity Company,

Plaintiffs,
VS.

Mikhail Palterovich, Jake Palter, a.k.a. Jacob Palterovich,
Dmitry Shteyman, a.k.a. Dmitry Grinberg, Vladimir
Trintcher, Irina Shteyman, a.k.a. Irina Perekorenko,
Isabelle Roig, a.k.a Isabelle Losardo, Pinchas Shapiro,
Grigory Kliger, M.D., Mario LaPlume a.k.a Mario
LaPlume Garbarino, M.D., Pierre M. Tallerie, D.C.,
Robert Piasio, D.C., Virginia Planas, D.C., William J.
Moran, D.C., Alexander S. Fishman, Esq., S.H.P. Medical
Rehabilitation Center, Inc., Sun State Diagnostic, Inc.,
Med Services Group, Inc., NMB Medical Group, Inc.,
Continental Consulting, Inc., Statewide Collections, Inc.,
Jack Byron, David Guenon, Justo Devilla, John Does 1
through 20, Jane Does 1 through 20 and ABC
Corporations 1 through 20

Defendants.

PLAINTIFFS’? AND DEFENDANT GRIGORY KLIGER’S JOINT
MOTION TO DISMISS DEFENDANT GRIGORY KLIGER, M.D.
PURSUANT TO FED. R. CIV. P. 41(a)(2) AND MEMORANDUM OF LAW
IN SUPPORT THEREOF

Plaintiffs, Allstate Insurance Company, Allstate Indemnity Company, Deerbrook
Insurance Company, and Northbrook Indemnity Company (“Plaintiffs”), by their
attorneys, Stern & Montana, L.L.P., and Defendant Grigory Kliger, MD. (“Kliger’), by

his attorney Peter Sandberg, Esq., (hereinafter collectively referred to as the “Parties’’)
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hereby file this agreed motion to dismiss Defendant Kliger pursuant to Fed. R. Civ. P.
41(a)(2). In support of this motion, the Parties state as follows:

PROCEDURAL HISTORY

1. On or about June 10, 2004, Plaintiffs filed their complaint, against defendants
including inter alia, Defendant Kliger, alleging significant violations of (i) the United
States Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§
1961, 1962(c)&(d) and 1964(c); (ii) Civil Remedies for Criminal Practices Act, Fla. Stat.
§§ 772.104 and 772.11; (iii) Common Law Unjust Enrichment Founded on Violations of
the Professional Service Corporations and Limited Liability Companies Act, Fla. Stat and
(iv) Florida State common law. (“Complaint”)

2. On or about February 4, 2008, Plaintiffs reached a compromise with Defendant
Kliger to fully resolve the Action.

3. On or about February 27, 2008 settlements documents, including a Stipulation of
Settlement, the terms of which are confidential, were fully executed between the Parties.
At this Court’s request, the Parties will tender a copy of the Stipulation of Settlement for
in camera review.

3. In that regard, the Parties agreed to dispose of the instant litigation as it relates to
Defendant Kliger, conditioned upon Defendant Kliger’s compliance with the terms of the
Stipulation of Settlement between the Parties. A copy of the Stipulation of Voluntary
Dismissal (“Stipulation”) executed by the Parties is annexed to the Affirmation of Robin
Pass (“Pass Aff.”) in support of the instant application as Exhibits “A.”

4, For the reasons set forth herein and in accordance with the Parties’ Stipulation,

and Fed. R. Civ. P. 41(a)(2), Plaintiffs and Defendant Kliger respectfully request that this
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Court dismiss all claims of Plaintiffs made in the above-entitled action against Defendant
Kliger and all counterclaims, claims and defenses of Defendant Kliger against Plaintiffs
with prejudice and without costs, disbursements or attorneys fess to either party,
conditioned upon Defendant Kliger’s compliance with the terms of the Stipulation of
Settlement. The parties further request that this Court retain jurisdiction in connection
with any and all matters concerning the interpretation and/or enforcement of the
Stipulation of Settlement between the Plaintiffs and Defendant Kliger. For the Court’s
convenience, the Parties’ proposed order of dismissal is annexed as Exhibit “B” to the
Pass Aff.

5. Pursuant to Local Rule 7.1(A)(3) of the United States District Court for the
Southern District of Florida, the undersigned counsel hereby certifies that she has
communicated with Peter Sandberg, Esq., counsel for Defendant Kliger and that he joins
in the instant application.

MEMORANDUM OF LAW

Federal Rule of Civil Procedure 41(a)(2) permits the voluntary dismissal of an action
by court order, on terms that the court considers proper. See Fed. R. Civ. P. 41(a)(2);
Pontenberg v. Boston Scientific Corp., 252 F.3d 1253, 1256 (11 Cir. 2001)(holding that
in determining whether to allow a voluntary dismissal under Rule 41(a)(2), “the district
court must weigh the relevant equities and do justice between the parties in each case,
imposing such costs and attaching such conditions to the dismissal as are deemed
appropriate.”); Sobe News, Inc. v. Ocean Drive Fashions, Inc., 199 ERD. 377, 378 (S.D.

Fla. 2001)(holding that when exercising its discretion to grant a voluntary dismissal, the
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court should .... “impose such costs and attach such conditions to the dismissal as are
deemed appropriate.”).

A Federal Rule of Civil Procedure 41(a)(2) dismissal may be conditioned on terms
proposed by the parties or sua sponte by the court. See Brown v. Baeke, 413 F.3d
1121 qo" Cir. 2005)(dismissal conditioned on some conditions proposed by the plaintiff,
and others added by the court.). The imposition of terms and conditions upon a voluntary
dismissal is a matter resting within the sound discretion of the court. See Pontenberg v.
Boston Scientific Corp., 252 F.3d 1253, 1255 (11" Cir. 2001)(“The district court enjoys
broad discretion in determining whether to allow a voluntary dismissal under Rule
41(a)(2).”); Sobe News, Inc. v. Ocean Drive Fashions, Inc., 199 F.R.D. 377, 378 (S.D.
Fla. 2001)(“The decision whether or not to grant such a dismissal is within the sound
discretion of the district court.”); San Marco v. City of St. Petersburg, 185 F.R.D. 679,
680 (M.D. Fla. 1999)(holding that in considering motion for voluntary dismissal, “court
is vested with great discretion.”’).

In that regard, it is well settled that a party’s compliance with the terms of a
settlement contract may be a condition of dismissal. See Kokkonen vy. Guardian Life Ins.
Co. of America, 511 U.S. 375, 381, 114 S.Ct. 1673, 1677 (U.S.Cal.,1994)(“When the
dismissal is pursuant to Federal Rule of Civil Procedure 41(a)(2), which specifies that the
action “shall not be dismissed at the plaintiff's instance save upon order of the court and
upon such terms and conditions as the court deems proper,” the parties' compliance with
the terms of the settlement. contract (or the court's “retention of jurisdiction” over the
settlement contract) may, in the court's discretion, be one of the terms set forth in the

order.”); Bailey v. Potter, 498 F.Supp.2d 320, 322 (D. D.C. 2007)(‘Specifically, the court
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will impose as a condition of dismissal that the parties must comply with the terms of the
settlement agreement as it was articulated to the court in 2001.”); Bragg v. Robertson, 54
F.Supp.2d 653, 662 -663 (S.D.W.Va.,1999)(‘“Under Rule 41(a)(2) a court has the
authority to enforce a settlement agreement if it explicitly retains such authority in its
dismissal order.”’).

At bar, as set forth above, Plaintiffs and Defendant Kliger have agreed to the
dismissal of the instant action as it relates to Defendant Kliger conditioned upon
Defendant Kliger’s compliance with the terms of the Stipulation of Settlement. Such
condition is appropriate under the well settled precedent cited above. Accordingly,
Plaintiffs and Defendant Kliger respectfully request that this Court dismiss all claims of
Plaintiffs made in the above-entitled action against Defendant Kliger and all
counterclaims, claims and defenses of Defendant Kliger against Plaintiffs with prejudice
and without costs, disbursements or attorneys fess to either party, conditioned upon
Defendant Kliger’s compliance with the terms of the Stipulation of Settlement. The
parties further request that this Court retain jurisdiction in connection with any and all
matters concerning the interpretation and/or enforcement of the Stipulation of Settlement
between the Plaintiffs and Defendant Kliger.

Dated: Boca Raton, Florida
June 20, 2008 Respectfully submitted,

s/Robin Pass

Robin Pass (FL Bar No: 0739081)
r.pass@stern-montana.com

Stern & Montana, LLP

Attorneys for Plaintiffs

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Telephone: 561-989-8434
Facsimile: 561-989-8436
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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of PLAINTIFFS’ AND
DEFENDANT GRIGORY KLIGER’S JOINT MOTION TO DISMISS
DEFENDANT GRIGORY KLIGER, M.D. PURSUANT TO FED. R. CIV. P.
41(a)(2) AND MEMORANDUM OF LAW IN SUPPORT THEREOF, was served this
20" day of June, 2008, via U.S. Mail upon: See Attached Service List.

s/Robin Pass

Robin Pass (FL Bar No: 0739081)
r.pass@stern-montana.com

Stern & Montana, LLP

Attorneys for Plaintiffs

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Appearing ProSe
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.; 04-21402- Civ (HUCK/SIMONTON)
CONSENT CASE

Allstate Insurance Company, Allstate Indemnity
Company, Deerbrook Insurance Company, and
Northbrook Indemnity Company,

Plaintitts,
VS.

Mikhail Palterovich, Jake Palter, a.k.a. Jacob Palterovich,
Dmitry Shteyman, a.k.a. Dmitry Grinberg, Vladimir
Trintcher, Jrina Shteyman, a.k.a. Irina Perekorenko,
Isabelle Roig, a.k.a Isabelle Losardo, Pinchas Shapiro,
Grigory Kliger, M.D., Mario LaPlume a.k.a Mario
LaPlume Garbarino, M.D., Pierre M. Tallerie, D.C.,
Robert Piasio, D.C., Virginia Planas, D.C., William J.
Moran, D.C., Alexander S. Fishman, Esq., 8.H.P. Medical
Rehabilitation Center, Inc., Sun State Diagnostic, Inc.,
Med Services Group, Inc., NMB Medical Group, Inc.,
Continental Consulting, Inc., Statewide Collections, Inc.,
Jack Byron, David Guenon, Justo Devilla, John Does 1
through 20, Jane Does 1 through 20: and ABC
Corporations | through 20

Defendants.

AFFIRMATION IN SUPPORT OF PLAINTIFFS’ AND DEFENDANT
GRIGORY KLIGER’S JOINT MOTION TO DISMISS DEFENDANT
GRIGORY KLIGER, M.D. PURSUANT TO FED. R. CIV. P. 41(a (2)

Robin Pass, an attorney duly admitted to practice before the courts of the State of
Florida and the Southern District of Florida, hereby affirms under penalty of perjury as

follows:
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1. I am an associate at the firm of Stern & Montana, LLP, attorneys for the
Plaintiffs in the above-entitled action. | am fwlly familiar with the facts and
circumstances set forth herein and submit this Affirmation in support of Plaintiffs’ and
Defendant Grigory Kliger M.D.’s (“Kliger”), joint agreed motion Ww dismiss
Defendant Kliger pursuant to Fed. R. Civ. P. 41(a)(2).

2. On or about June 10, 2004, Plaintiffs filed their complaint, against defendants
including inter alia, Defendant Kliger, alleging significant violations of (i) the United
States Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§
1961, 1962(c)&(d) and 1964(c); (ii) Civil Remedies for Criminal Practices Act, Fla.
Stat. §§ 772.104 and 772.11; (iii) Common Law Unjust Enrichment Founded on
Violations of the Professional Service Corporations and Limited Liability Companies
Act, Fla. Stat and (iv) Florida State common law. (“Complaint”).

3. On or about February 27, 2008, Plaintiffs reached a compromise with
Defendant Kliger to fully resolve the Action.

4. On or about February 27, 2008 settlements documents, including a
Stipulation of Settlement, the terms of which are confidential, were fully executed
between the Parties. At this Court’s request, the Parties will tender a copy of' the
Stipulation of Settlement tor in camera review.

5. In that regard, the Parties agreed to dispose of the instant litigation as it relates
to Defendant Kliger, conditioned upon Defendant Kliger’s compliance with the terms
of the Stipulation of Settlement between the Parties. A copy of the Stipulation of
Voluntary Dismissal (“Stipulation”) executed by the Parties is annexed hereto as

Exhibits “A.”

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6. In accordance with the Parties’ Stipulation and for the reasons set forth in the
accompanying memorandum of law, Plaintiffs and Defendant Kliger respectfully
request that this Court dismiss all claims of Plaintiffs made in the above-cntitled
action against Defendant Kliger and all counterclaims, claims and defenses of
Defendant Kliger against Plaintiffs with prejudice and without costs, disbursements
or attorneys fess to either party, conditioned upon Defendant Kliger’s compliance
with the terms of the Stipulation of Settlement. ‘lhe parties further request that this
Cowrt retain jurisdiction in connection with any and all matters concerning the
interpretation and/or enforcement of the Stipulation of Settlement between the
Plaintiffs and Defendant Kliger.

7. For the Court’s convenience, the Parties’ proposed order of dismissal is
annexed hereto as Exhibit “B.”

FURTHER AFFIANT SAYETH NAUGHT.

Ye

OF FLORIDA
COUNTY OF HiAvae “aoa”

BEFORE ME, the undersigned authority, perso ally appeared Robin Pass, who is
personally known to me or has produced A. Z By. as identification, and
being duly swom, on oath, deposes and says that the facts contained in the foregoing
AFFIRMATION IN SUPPORT OF PLAINTIFFS’ AND DEFENDANT GRIGORY
KLIGER’S JOINT MOTION TO DISMISS DEFENDANT GRIGORY iKLIGER,
M.D. PURSUANT TO FED. R. CIV. P. 41(a)(2) are true and correct to the best of her
knowledge.

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sworn TO AND em before me this /@& day of June, 2008,

fo bn9 up 2

NOTARY PUBLIC, STATE OF FLORIDA
My Commission Expires:

eT
‘ Notary Public tot
$ s Alexie. Porn . la of Fladda
* h .& My Commianiong DD? 12429

Exalras 09/06/2014
